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Documentation / HTTP Live Streaming / HTTP Live Streaming (HLS) authoring specification for Apple devices                                                              API Changes: None




                                      HTTP Live Streaming (HLS) authoring specification
                                      for Apple devices
                                      Learn the requirements for live and on-demand audio and video content delivery using HLS.




                                      Overview
                                      For a deeper discussion of the features available in HLS, refer to Appleʼs streaming resource page, which contains
                                      pointers to the overview document, the HLS specification, technical notes, tools, presentations, and examples.



                                      About HLS authoring
                                      The HLS specification is a published RFC (RFC 8216). However, HLS continues to evolve, so thereʼs an updated draft
                                      specification — draft-pantos-hls-rfc8216bis (HLS2). This document always uses the most recent version of the draft
                                      standard.



                                         Note
                                         HLS was originally specified in draft-pantos-http-live-streaming (HLS1). That document was superseded by RFC
                                         8216.



                                      The key words “MUST,” “MUST NOT,” “REQUIRED,” “SHALL,” “SHALL NOT,” “SHOULD,” “SHOULD NOT,”
                                      “RECOMMENDED,” “MAY,” and “OPTIONAL” in this document are to be interpreted as described in RFC 2119.

                                      Find additional information for HLS specifications at HTTP Live Streaming (HLS) Authoring Specification for Apple
                                      devices appendixes.



                                      General authoring requirements
                                      A stream that matches these requirements should be compatible with iOS, tvOS, or macOS. Rules with a leading
                                      asterisk (*) are modified by one or more of the Amended Requirements listed below.

                                      Support for a specific video Profile and Level doesnʼt imply that any particular device supports the maximum bit rate for
                                      that Level.


                                      Video
                                      1. Video encoding requirements

                                      1.1. All video MUST be encoded using H.264/AVC or HEVC/H.265.

                                      1.2. The container format for H.264 video MUST be fragmented MP4 (fMP4) files or MPEG transport streams.

                                      1.3.

                                      1.3a. * For maximum compatibility, some H.264 variants SHOULD be less than or equal to High Profile, Level 4.1.

                                      1.3b. * Profile and Level for H.264 MUST be less than or equal to High Profile, Level 5.2.

                                      1.4. For H.264, you SHOULD use High Profile in preference to Main or Baseline Profile.

                                      1.5. The container format for HEVC video MUST be fMP4.

                                      1.6.

                                      1.6a. * For maximum compatibility, some HEVC variants SHOULD be less than or equal to Main 10 Profile, Level 4.0, Main
                                      Tier.

                                      1.6b. * Profile, Level, and Tier for HEVC MUST be less than or equal to Main 10 Profile, Level 5.1, High Tier.

                                      1.7. High Dynamic Range (HDR) HEVC video MUST be HDR10, HLG, or Dolby Vision.

                                      1.8. For HDR10 video, the SEI NAL units (that is, static metadata) SHOULD be in the HEVC Configuration Box ('hvcC')
                                      and not in the individual sample data.

                                      1.9. * Profile and Level for Dolby Vision MUST be Profile 5 (single layer 10-bit HEVC) and less than or equal to Level 7.

                                      1.10. You SHOULD use video formats in which the parameter sets are stored in the sample descriptions, rather than the
                                      samples. (That is, use 'avc1', 'hvc1', or 'dvh1' rather than 'avc3', 'hev1', or 'dvhe'.)

                                      1.11. For backward compatibility, content SHOULD NOT use a higher level than required by the content resolution and
                                      frame rate.

                                      1.12. * For backward compatibility, some video content SHOULD be encoded with H.264.

                                      1.13. Key frames (IDRs) SHOULD be present every two seconds.

                                      1.14. All interlaced source content MUST be deinterlaced.

                                      1.15. You SHOULD deinterlace 30i content to 60p instead of 30p.

                                      1.16. Live (linear) video from NTSC or ATSC source SHOULD be 60 or 59.94 fps.

                                      1.17. Live (linear) video from PAL source SHOULD be 50 fps.

                                      1.18. Video on Demand (VOD) content SHOULD use a natural frame rate for the content. Frame rates 23.976, 24, 25,
                                      29.97, 30, 50, 59.94, and 60 fps are supported.

                                      1.19. Frame rates above 60 fps SHALL NOT be used.

                                      1.20. * For HDR content, frame rates less than or equal to 30 fps SHOULD be provided.

                                      1.21. Streams SHOULD use a single color space — one of either Rec. 601, Rec. 709, DCI-P3, or Rec. 2020.

                                      1.22. For VOD, the color space SHOULD be the original color space of the material.

                                      1.23. * If multiple video streams are provided (H.264, HEVC, HDR), each stream SHOULD provide all anticipated
                                      bandwidths. Clients SHOULD NOT be required to switch codecs.

                                      1.24. * For backward compatibility, SDR streams MUST be provided. (See also item 6.16.)

                                      1.25. * There are many possible choices of bit rates for variants. The following tables provide one possible set of bit rate
                                      variants. (See On bit rates for variants for additional considerations.)


                                       1639 aspect ratio      H.264/AVC        Frame rate

                                       416 x 234              145              ≤ 30 fps

                                       640 x 360              365              ≤ 30 fps

                                       768 x 432              730              ≤ 30 fps

                                       768 x 432              1100             ≤ 30 fps

                                       960 x 540              2000             Same as source

                                       1280 x 720             3000             Same as source

                                       1280 x 720             4500             Same as source

                                       1920 x 1080            6000             Same as source

                                       1920 x 1080            7800             Same as source



                                       1639 aspect ratio      HEVC/H.265 30 fps           HDR (HEVC) 30 fps           Frame rate

                                       640 x 360              145                         160                         ≤ 30 fps

                                       768 x 432              300                         360                         ≤ 30 fps

                                       960 x 540              600                         730                         ≤ 30 fps

                                       960 x 540              900                         1090                        ≤ 30 fps

                                       960 x 540              1600                        1930                        Same as source

                                       1280 x 720             2400                        2900                        Same as source

                                       1280 x 720             3400                        4080                        Same as source

                                       1920 x 1080            4500                        5400                        Same as source

                                       1920 x 1080            5800                        7000                        Same as source

                                       2560 x 1440            8100                        9700                        Same as source

                                       3840 x 2160            11600                       13900                       Same as source

                                       3840 x 2160            16800                       20000                       Same as source



                                         Note
                                         The above bit rates are initial encoding targets for typical content delivered via HLS. Apple recommends that you
                                         evaluate them against your specific content and encoding workflow, then adjust accordingly.

                                         30i source content is considered to have a source frame rate of 60 fps. 24 fps HEVC content should use bit rates
                                         reduced by about 20% from the values above.



                                      1.26. For VOD content, the average segment bit rate MUST be within 10% of the AVERAGE-BANDWIDTH attribute. (See
                                      Declared versus measured values of bandwidths.)

                                      1.27. For VOD content, the measured peak bit rate MUST be within 10% of the BANDWIDTH attribute.

                                      1.28. For live (linear) content, the average segment bit rate over a long (~1 hour) period of time MUST be less than 110%
                                      of the AVERAGE-BANDWIDTH attribute.

                                      1.29. For live (linear) content, the measured peak bit rate MUST be less than 125% of the BANDWIDTH attribute.

                                      1.30. For VOD content, the peak bit rate SHOULD be no more than 200% of the average bit rate.

                                      1.31. Different variants MAY have different frame rates.

                                      1.32. * The default video variants SHOULD be the 2000 kbit/s (average bit rate) variant. (Defaults are the first variant
                                      listed in the Multivariant Playlist within a group of variants having compatible audio).

                                      1.33. All video variants SHOULD have identical aspect ratios.

                                      1.34. For maximum compatibility when UHD video resolution is provided, some UHD variants SHOULD be less than or
                                      equal to 15 Mbit/s.

                                      1.35. For HDR10 content, the Mastering Display Color Volume and Content Light Level Information SEI messages
                                      SHOULD be present.

                                      1.36. MV-HEVC video MUST NOT be used for anything other than stereo video.


                                      Audio
                                      2. Audio encoding requirements

                                      2.1. Audio data SHOULD be provided as an elementary audio stream or in fMP4.

                                      2.2. Stereo audio formats are:

                                         AAC-LC

                                         HE-AAC v1

                                         HE-AAC v2

                                         xHE-AAC

                                         Apple Lossless

                                         FLAC

                                         Multichannel formats that only carry stereo

                                      2.3. * Stereo audio in AAC, HE-AAC v1, or HE-AAC v2 format MUST be provided.

                                      2.4. You SHOULD NOT use HE-AAC if your audio bit rate is above 64 kbit/s.

                                      2.5. Supported multichannel audio formats are:

                                         AAC-LC

                                         HE-AAC v1

                                         Apple Lossless

                                         FLAC

                                         Dolby Digital (AC-3)

                                         Dolby Digital Plus (E-AC-3)

                                         Dolby Digital Plus with Dolby Atmos

                                      (See Values for the CODECS attribute for more information about Dolby Atmos.)

                                      2.6. * If Dolby Digital Plus is provided and your streams are delivered to devices that donʼt support Dolby Digital Plus,
                                      then Dolby Digital MUST be provided also. See Audio compatibility.

                                      2.7. Stereo audio MAY be provided at multiple bit rates.

                                      2.8. * Multichannel audio using a particular codec MAY be provided at multiple bit rates.

                                      2.9. Overall bit rate recommendations are as follows:


                                       Audio channels        Format                                       Total (kbit/s)

                                       2.0 (stereo)          AAC                                          32 to 160

                                       2.0 (stereo)          xHE-AAC                                      24 to 160

                                       2.0 (stereo)          Dolby Digital Plus                           96 to 160

                                       5.1 (surround)        AAC                                          320

                                       5.1 (surround)        Dolby Digital                                384

                                       5.1 (surround)        Dolby Digital Plus                           192

                                       7.1 (surround)        Dolby Digital Plus                           384

                                       Nominally 16          Dolby Digital Plus with Dolby Atmos          384 to 768


                                      2.10. * You MAY change channel layout within a stream.

                                      2.11. Channel layout changes MUST be in conjunction with an EXT-X-DISCONTINUITY tag.

                                      2.12. If you provide Descriptive Video Service (DVS), also called “Audio Description”, it MUST be marked with the
                                      attribute CHARACTERISTICS="public.accessibility.describes-video".

                                      2.13. If you provide DVS, the AUTOSELECT attribute MUST have a value of “YES".

                                      2.14. The name of DVS audio SHOULD indicate that the stream is DVS content.

                                      2.15. If you provide alternative audio or DVS, you MUST provide it for the entire content duration, even if it only really
                                      exists for a portion of the main content.

                                      2.16. Alternative audio or DVS MAY reuse the audio segments of regular content when the alternative content isnʼt
                                      available.

                                      2.17. A single Media Segment MUST NOT contain multiple audio streams.

                                      2.18. Loudness management or Dynamic range control SHOULD be present unless all content (including ads) has been
                                      encoded at the same audio levels.

                                      2.19. In fMP4 files, you SHOULD provide loudness information by way of a loudness box (ʼludtʼ). When present, the
                                      loudness box takes precedence over any loudness information in the audio stream.

                                      2.20. In the absence of a loudness box, Dolby Digital and Dolby Digital Plus loudness SHOULD be specified by the
                                      dialnorm field (ATSC A/52k2012).

                                      2.21. For AAC, in the absence of a loudness box, AAC dialog loudness SHOULD be specified by either AAC prog_ref
                                      _level (ISO 14496-3 subclause 4.5.2.7), as specified by SCTE 193-1 section 7.4.1, or by the loudnessInfo()
                                      payload as specified by ISO 23003-4, in which case, samplePeakLevel or truePeakLevel MUST be present,
                                      measurementSystem MUST be 2, and methodDefinition MUST be 1 or 2, while for video content it SHOULD be 2.

                                      2.22. For xHE-AAC, loudness metadata MUST be present according to the Basic Loudness Metadata specified in ISO
                                      23003-4 Table I.5; samplePeakLevel or truePeakLevel MUST be present. The methodDefinition SHOULD be
                                      2 for video content.

                                      2.23. The loudness value MUST indicate the actual loudness of the content.

                                      2.24. HE-AAC in fMP4 files MUST use explicit signaling of SBR data.

                                      2.25. The container format for xHE-AAC, Apple Lossless, and FLAC audio MUST be fMP4.

                                      2.26. If you provide non-Dolby multichannel audio, you SHOULD provide multichannel AAC also.

                                      2.27. For audio description, the LANGUAGE attribute MUST be present and indicate the primary language used to
                                      convey the descriptions.

                                      2.28. Audio that has been prepared or otherwise processed to heighten the intelligibility of speech MAY be marked with
                                      the attribute CHARACTERISTICS="public.accessibility.enhances-speech-intelligibility".


                                      Ads and pre-/mid-/post-rolls
                                      3. Ad requirements (See also the Media Playlists section of HTTP Live Streaming (HLS) authoring specification for
                                      Apple devices.)

                                      3.1. Your ads and other nonprimary media MAY be inserted in the Media Playlists or as Interstitials.

                                      3.2. Inserted media SHOULD be encoded with the same codecs as the other content in the Media Playlist.

                                      3.3. Inserted media SHOULD be encoded with the same aspect ratio as the other content in the Media Playlist.

                                      3.4. Inserted media SHOULD be at or under the specified bandwidths for that variant.


                                      Accessibility
                                      4. Accessibility requirements

                                      4.1. Captions SHOULD be provided with your streams to make content accessible to people who are deaf or hard of
                                      hearing.

                                      4.2. Supported caption formats are:

                                         CEA-608 closed captions

                                         CEA-708 closed captions

                                         WebVTT subtitles

                                         IMSC1 subtitles (text profile only)

                                      4.3. Closed captions (if any) MUST be included in the video Media Segments.

                                      4.4. The presence of closed captions MUST be declared via an EXT-X-MEDIA tag that contains a LANGUAGE attribute.

                                      4.5. If a subtitles track is intended to provide accessibility for people who are deaf or hard of hearing, it MUST be
                                      marked with the attribute CHARACTERISTICS="public.accessibility.transcribes-spoken-
                                      dialog,public.accessibility.describes-music-and-sound". (Subtitles with this attribute value are
                                      treated the same as closed captions.)

                                      4.6. If a subtitles track is intended to provide accessibility for people who are deaf or hard of hearing, the AUTOSELECT
                                      attribute MUST have a value of "YES".

                                      4.7. The LANGUAGE attribute MUST be included in the EXT-X-MEDIA tag for a subtitles track.

                                      4.8. For information on including audio descriptions with your streams, see items 2.12 through 2.16.


                                      Subtitles
                                      5. Subtitle requirements

                                      5.1. Subtitles MAY be provided.

                                      5.2. * Subtitles MUST be WebVTT (according to the HLS specification) or IMSC1 in fMP4.

                                      5.3. WebVTT subtitles MUST be in text files, with an X-TIMESTAMP-MAP according to the HLS specification.

                                      5.4. IMSC1 subtitles MUST be in fMP4 files.

                                      5.5. The subtitle playlist MUST exist for the entirety of the main content, even if the actual subtitles only exist for a
                                      portion of the content.

                                      5.6. For live (linear) content, target durations for subtitle playlists MUST be identical to other media.

                                      5.7. For VOD content, target durations of subtitle playlists MAY be longer than the other media.

                                      5.8. If the content has forced subtitles and regular subtitles in a given language, the regular subtitles track in that
                                      language MUST contain both the forced subtitles and the regular subtitles for that language.

                                      5.9. If your videos contain text burnt into the video and you have access to a version without the burn-in, you SHOULD
                                      use forced subtitles instead. (This allows you to easily translate into multiple languages. An example of when you might
                                      use forced subtitles is a science fiction film, where alien languages are translated into English.)

                                      5.10. The kind of subtitles SHOULD be specified in the CODECS attribute of the associated EXT-X-STREAM-INF tags.
                                      You SHOULD use "stpp.ttml.im1t" to identify IMSC1 subtitles. You MAY use "wvtt" to identify WebVTT subtitles.

                                      5.11. Forced subtitles SHOULD always have AUTOSELECT=YES.


                                      Trick Play
                                      6. Trick play requirements

                                      6.1. I-frame playlists (EXT-X-I-FRAME-STREAM-INF) MUST be provided to support scrubbing and scanning UI.

                                      6.2. You SHOULD have one frame per second dense I-frame renditions. These are dedicated renditions that only contain
                                      I-frames.

                                      6.3. Alternatively, you MAY use the I-frames from your normal content, but trick play performance is improved with a
                                      higher density of I-frames.

                                      6.4. If you provide multiple bit rates at the same spatial resolution for your regular video, you SHOULD create the I-frame
                                      playlist for that resolution from the same source used for the lowest bit rate in that group.

                                      6.5. The bit rate of I-frame playlists SHOULD be the bit rate of a normal playlist of the same resolution times the fps of
                                      the I-frame playlist divided by eight. (See I-frame bit rates versus normal bit rates.)

                                      6.6. * You SHOULD provide multiple I-frame Media Playlists with different bit rates.

                                      6.7. As with normal video, there are many possible choices of bit rates for dense I-frame variants. The following tables
                                      provide one possible set of variants. (See On bit rates for variants.)


                                       1639 aspect ratio      H.264/AVC

                                       640 x 360              45

                                       768 x 432              90

                                       960 x 540              250

                                       1280 x 720             375

                                       1920 x 1080            580



                                       1639 aspect ratio      HEVC/H.265          HDR (HEVC)

                                       768 x 432              40                  55

                                       960 x 540              75                  94

                                       960 x 540              200                 238

                                       1280 x 720             300                 360

                                       1920 x 1080            525                 650



                                         Note
                                         These bit rates are based on the assumption of a 1 fps dense I-frame track. The values should be modified based
                                         on the actual frame rate of the I-frame rendition. (See item 6.5.)

                                         The above tables are average bit rates. Earlier versions of this specification used peak bit rates.



                                      6.8. I-frame playlists MUST contain the EXT-X-I-FRAMES-ONLY tag.

                                      6.9. The peak segment bit rate MUST be calculated according to the HLS specification.

                                      6.10. If using fMP4, I-frame segments MUST include the ‘moofʼ header associated with the I-frame.

                                      6.11. For live (linear) content, target durations for I-frame playlists MUST be identical to other media.

                                      6.12. For VOD content, target durations of I-frame playlists MAY be different from the other media.

                                      6.13. * I-frame playlists MAY use a different video codec than the normal video segments.

                                      6.14. * For backward compatibility, some trick play content SHOULD be encoded with H.264.

                                      6.15. If HDR trick play streams are provided, they SHOULD be provided at all resolutions.

                                      6.16. * For backward compatibility, SDR trick play streams MUST be provided.

                                      6.17. I-frame content MAY be encoded using the fMP4 ‘mjpgʼ codec. (See I-frame image sequences.)


                                      Media Segmentation
                                      7. Media segmentation requirements

                                      7.1. Your media MUST be continuous across segments, with the exception of transitions for ads and other inserted
                                      material.

                                      7.2. If using a transport stream, continuity counters and timestamps MUST be sequential.

                                      7.3. If using fMP4, the track fragment decode time MUST be consistent with the decode time and duration of the
                                      previous segment.

                                      7.4. Video segments MUST start with an IDR frame.

                                      7.5. Target durations SHOULD be 6 seconds.

                                      7.6. Segment durations SHOULD be nominally 6 seconds (for example, NTSC 29.97 may be 6.006 seconds).

                                      7.7. Media Segments MUST NOT exceed the target duration by more than 0.5 seconds.

                                      7.8. Each xHE-AAC segment SHOULD start with an Immediate Playout Frame (IPF).


                                      Media Playlists
                                      8. Media Playlist requirements

                                      8.1. You MUST use sufficiently accurate segment durations to ensure that the sum of the EXTINF durations of any
                                      contiguous group of segments is within one video frame duration of the actual duration of the content.

                                      8.2. Audio and video playlists MUST all use the same target duration.

                                      8.3. Audio and video playlists MUST contain the same duration of the content.

                                      8.4. The EXT-X-PROGRAM-DATE-TIME tag MUST be present in every live (linear) Media Playlist.

                                      8.5. The date-time value of an EXT-X-PROGRAM-DATE-TIME tag SHOULD be aligned with the airtime of the content.

                                      8.6. If your Media Playlists are created from static source content (VOD), you MUST add the EXT-X-PLAYLIST-TYPE
                                      with the value VOD.

                                      8.7. Within one asset, all Media Playlists with an EXT-X-PLAYLIST-TYPE of VOD MUST cover exactly the same media
                                      time range.

                                      8.8. If your Media Playlists are event style (start from a fixed point with segments never removed), you MUST add the
                                      EXT-X-PLAYLIST-TYPE with the value EVENT.

                                      8.9. Separate audio streams MUST be declared using EXT-X-MEDIA tags.

                                      8.10. The LANGUAGE attribute MUST be included in every EXT-X-MEDIA tag that doesnʼt have TYPE=VIDEO.

                                      8.11. You MUST provide at least six segments in a live (linear) playlist.

                                      8.12. * You SHOULD provide at least 15 minutes of content in a live (linear) playlist.

                                      8.13. Breaks of encoding continuity MUST be indicated with the EXT-X-DISCONTINUITY tag.

                                      8.14. Video frame rate changes MUST be marked as a discontinuity using EXT-X-DISCONTINUITY tags.

                                      8.15. All variants and renditions MUST have discontinuities at the same points in time.

                                      8.16. * You SHOULD avoid switching codecs at discontinuities, for example, switching between HEVC and H.264, or
                                      between AAC and Dolby Digital.

                                      8.17. If live (linear) content will ever contain an EXT-X-DISCONTINUITY tag, the EXT-X-DISCONTINUITY-SEQUENCE
                                      tag MUST always be present.

                                      8.18. Your media requests MUST NOT use HTTP redirects, with the exception of ad content to allow dynamic selection
                                      of ads.

                                      8.19. You SHOULD identify interstitial and program boundaries using the EXT-X-DATERANGE tag.

                                      8.20. If using fMP4, EXT-X-MAP tags MUST be present.

                                      8.21. Metadata SHOULD be in the playlist (using EXT-X-DATERANGE) rather than in the media (using Timed Metadata).

                                      8.22. * For maximum interoperability, all audio/video variants and renditions SHOULD have segment boundaries at the
                                      same points in time.

                                      8.23. If your xHE-AAC segments start with an IPF, you SHOULD use the EXT-X-INDEPENDENT-SEGMENTS tag in the
                                      Media Playlist.

                                      8.24. A live (linear) playlist update SHOULD be considered invalid when the Last-Modified HTTP header, if supplied, is
                                      more than three target durations from the Date HTTP header.


                                      Multivariant Playlist
                                      9. Multivariant Playlist requirements

                                      9.1. Your EXT-X-STREAM-INF tag MUST always provide the CODECS attribute.

                                      9.2. Your EXT-X-STREAM-INF tag MUST always provide the RESOLUTION attribute if the rendition includes video.

                                      9.3. Your EXT-X-I-FRAME-STREAM-INF tag MUST always provide the CODECS attribute.

                                      9.4. Your EXT-X-I-FRAME-STREAM-INF tag MUST always provide the RESOLUTION attribute.

                                      9.5. You SHOULD deliver video and audio as separate streams.

                                      9.6. If you have multichannel audio, you MUST use separate audio streams.

                                      9.7. If you have alternative audio content (languages/commentary/DVS), you MUST use separate audio streams.

                                      9.8. If you have different video angles, you MUST use separate audio streams.

                                      9.9. You MUST provide multiple bit rates of video (that is, variants).

                                      9.10. For HD content, there SHOULD be at least two variants encoded at the highest-available resolution.

                                      9.11. If your video segments start with an IDR, you SHOULD use the EXT-X-INDEPENDENT-SEGMENTS tag in the
                                      Multivariant Playlist. (See item 7.4.)

                                      9.12. If your video segments start with an IDR and the EXT-X-INDEPENDENT-SEGMENTS tag isnʼt in the Multivariant
                                      Playlist, you MUST use the EXT-X-INDEPENDENT-SEGMENTS tag in all video Media Playlists. (See item 7.4.)

                                      9.13. The BANDWIDTH attribute MUST be the largest sum of peak segment bit rates thatʼs produced by any playable
                                      combination of renditions.

                                      9.14. You MUST include the AVERAGE-BANDWIDTH attribute.

                                      9.15. Each EXT-X-STREAM-INF tag that includes video content MUST have a FRAME-RATE attribute.

                                      9.16. The VIDEO-RANGE attribute MUST be specified unless all variants and renditions are SDR.

                                      9.17. Within a group of Renditions (EXT-X-MEDIA tags having the same TYPE and GROUP-ID), those tags having the
                                      same LANGUAGE value should be ordered from most general to most specific. (Because CHARACTERISTICS are open-
                                      ended, the matching algorithm needs the ordering since it canʼt interpret all the semantics.)

                                      9.18. An EXT-X-CONTENT-STEERING tag SHOULD always have a PATHWAY-ID attribute.

                                      9.19. The SCORE attribute (if present) MUST be on every variant. Otherwise, the SCORE attribute will be ignored.


                                      Delivery
                                      10. Delivery requirements

                                      10.1. The server MUST deliver playlists using gzip content-encoding.

                                      10.2. You SHOULD support stream failover, for example by listing duplicate streams in the Multivariant Playlist.

                                      10.3. Media data SHOULD NOT be delivered to the application through a local server.

                                      10.4. You SHOULD use the recommended MIME types for content. The recommendations are in the following table:


                                                                                                                                                     Typical file
                                       Media type                     Format                       Recommended MIME type
                                                                                                                                                     extension

                                       Playlist                       HLS playlist                 application/vnd.apple.mpegurl                     m3u8

                                       Playlist                       M3U playlist                 audio/mpegurl                                     m3u

                                                                      MPEG transport
                                       Video                                                       video/mp2t                                        ts
                                                                      stream

                                       Media Initializaton            Fragmented MP4               video/mp4                                         mp4

                                       Video or audio                 Fragmented MP4               video/iso.segment                                 m4s

                                       Video                          Fragmented MP4               video/mp4                                         mp4

                                                                      MPEG transport
                                       Audio                                                       video/mp2t                                        ts
                                                                      stream

                                       Audio                          Fragmented MP4               audio/mp4                                         mp4

                                       Audio                          Packed audio                 audio/aac                                         aac

                                       Audio                          Packed audio                 audio/mpeg                                        mp3

                                       Audio                          Packed audio                 audio/ac3                                         ac3

                                       Audio                          Packed audio                 audio/eac3                                        ec3

                                       Subtitles                      WebVTT                       text/vtt or text/plain                            vtt

                                       Subtitles                      IMSC1                        application/mp4                                   mp4

                                       Content Steering                                            application/vnd.apple.steering-
                                                                      JSON file                                                                      json
                                       Manifest                                                    list

                                       X-ASSET-LIST
                                                                      JSON file                    application/json                                  json
                                       response



                                         Note
                                         The M3U playlist MIME type audio/mpegurl isnʼt registered with the IANA. According to the IANA, the
                                         audio/aac MIME type allows LATM/LOAS or ADTS. HLS only supports ADTS. Some older players are known to
                                         reject text/vtt as an illegal type. For compatibility, text/plain is acceptable.



                                      Privacy
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          Note
          In a future release, Apple may require delivery over TLS.



        11. Privacy requirements

        11.1. Multivariant Playlists SHOULD be delivered using Transport Layer Security (TLS).

        11.2. Media Playlists SHOULD be delivered using TLS.

        11.3. Media Segments SHOULD be delivered using TLS.

        11.4. Media Segment URLs requested over unencrypted transport SHOULD NOT contain revealing strings, such as
        movie title, show title, episode name, episode number, genre, advertiser, or product.


        Security
        12. Security requirements

        12.1. Transport Layer Security (TLS) MUST be version 1.2 with forward security.

        12.2. TLS MUST NOT use known-insecure cryptographic primitives (such as, RC4 encryption, SHA-1 certificate
        signatures).

        12.3. Within TLS, key sizes MUST be 2048 bits for RSA and 256 bits for EC.

        12.4. The URLs for Media Segments SHOULD NOT be completely static. URLs should be issued per device or changed
        over time.


        Content Protection
        13. Content protection requirements

        13.1. Content protection of video and audio SHOULD follow the FairPlay Streaming (FPS) specification.

        13.2. If the content is encrypted with FPS, the method MUST be SAMPLE-AES.

        13.3. If the content is encrypted with FPS, the key format MUST be "com.apple.streamingkeydelivery".

        13.4. The IV attribute SHOULD NOT be used with FPS unless necessary for interoperability.

        13.5. Content with HD resolutions SHOULD use HDCP-LEVEL of TYPE-0.

        13.6. Content with greater than HD resolutions SHOULD use HDCP-LEVEL of TYPE-1.

        13.7. Video encrypted with Common Encryption MUST use an encrypt:skip pattern of 1k9 (10% partial encryption).

        13.8. Content encrypted with FPS MAY use the ALLOWED-CPC attribute. (See ALLOWED-CPC values for FairPlay
        Streaming.)

        13.9. Common encryption MUST NOT use content sensitive encryption.

        13.10. Content authors MAY mix encrypted and unencrypted samples in a single HLS fMP4 segment with a single Media
        Initialization Section by supplying both an encrypted SampleDescription at index 0 and an unencrypted
        SampleDescription at index 1 for each track. The sample index field of each sample should point to the appropriate
        SampleDescription.



          Note
          HD is approximately the range of 720p to 1080p.



        Low-Latency HLS
        14. Low-Latency HLS requirements

        14.1. Low-Latency stream delivery MUST meet all requirements of the Low-Latency Server Configuration Profile in
        Appendix B of draft-pantos-hls-rfc8216bis-07 or later.

        14.2.

        14.2a. The Part Target Duration MUST be at least the maximum round-trip time (RTT) to the server that 95% of the
        clients are expected to see (P95 RTT).

        14.2b. The Part Target Duration SHOULD be at least three times the P95 RTT.

        14.2c. The RECOMMENDED Part Target Duration is one second.

        14.3. The PART-HOLD-BACK value MUST be at least three times the Part Target Duration.

        14.4. Services with Playlist windows longer than two minutes SHOULD offer Playlist Delta Updates.

        14.5. Services that offer Playlist Delta Updates and use EXT-X-DATERANGE tags SHOULD also use CAN-SKIP-
        DATERANGES=YES.


        SharePlay

          Note
          Other requirements only apply to the playlists and media received by a single client. SharePlay adds requirements
          that apply to all participants in the SharePlay session.



        15. SharePlay HLS requirements

        15.1. For live (linear) content, the timeline derived from the EXT-X-PROGRAM-DATE-TIME tag is used for
        synchronization. That timeline MUST be in agreement for all participants.

        15.2. For VOD content, the timeline based on the start of the playlist is used for synchronization. That timeline MUST be
        in agreement for all participants.

        15.3. Interstitials delivered to participants in a SharePlay session SHOULD match in duration. If they do not, participants
        receiving longer duration interstitials will miss some of the primary content. This behavior can only be overridden when
        all participants are using apps that support control of coordinated media playback.


        Stereo Video
        16. Stereo video requirements

        16.1. All variants containing stereo video content MUST be marked with a REQ-VIDEO-LAYOUT attribute.



          Note
          Stereo video is only supported in visionOS. See amended requirements for visionOS.




        Amended requirements for tvOS
        All general rules apply except as expressly modified by a rule with the same number in this section. Rules with a leading
        plus sign (+) are additional rules.


        Video
        1. Video encoding requirements

        1.3.

        1.3b. Profile and Level for H.264 MUST be less than or equal to High Profile, Level 5.1.

        1.20. For HDR content, frame rates less than or equal to 30 fps MUST be provided.

        1.25. The 145 kbit/s variant SHOULD NOT be provided.


        Audio
        2. Audio encoding requirements

        2.8. Multichannel audio using a particular codec MAY be provided at multiple bit rates. However, Dolby Atmos content
        SHOULD be restricted to a single bit rate.


        Trick Play
        6. Trick play requirements

        6.16. SDR trick play streams MUST be provided.


        Media Playlists
        8. Media Playlist requirements

        8.12. You SHOULD provide at least 120 minutes of content in a live (linear) playlist.


        Multivariant Playlist
        9. Multivariant Playlist requirements

        9.20. + You MUST have no audio-only variants listed in the Multivariant Playlist.



        Amended requirements for iOS
        All general rules apply except as expressly modified by a rule with the same number in this section. Rules with a leading
        plus sign (+) are additional rules.


        Video
        1. Video encoding requirements

        1.6.

        1.6b. Profile and Level for H.264 MUST be less than or equal to High Profile, Level 6.0.

        1.9.

        1.9a. Profile and Level for Dolby Vision MUST be Profile 5 (single layer 10-bit HEVC) and less than or equal to Level 9.

        1.9b. + For maximum compatibility, some Dolby Vision variants SHOULD be less than or equal to Level 7.

        1.32.

        1.32a. For Wi-Fi delivery, the default video variant SHOULD be the 2000 kbit/s (average bit rate) variant.

        1.32b. For cellular delivery, the default video variant SHOULD be the 730 kbit/s (average bit rate) variant.


        Multivariant Playlist
        9. Multivariant Playlist requirements

        9.21. + Multivariant Playlists that are delivered over cellular networks MUST contain a variant whose peak BANDWIDTH is
        less than or equal to 192 kbit/s.

        9.22. + For backward compatibility, a peak 192 kbit/s H.264 variant packaged in a transport stream SHOULD be
        provided for cellular.



        Amended requirements for macOS
        All general rules apply except as expressly modified by a rule with the same number in this section. Rules with a leading
        plus sign (+) are additional rules.


        Video
        1. Video encoding requirements

        1.3.

        1.3b. Profile and Level for H.264 MUST be less than or equal to High Profile, Level 5.0.



        Amended requirements for visionOS
        All general rules apply except as expressly modified by a rule with the same number in this section. Rules with a leading
        plus sign (+) are additional rules.

        The following general rules regarding compatibility arenʼt applicable in visionOS if all variants contain stereo video
        content: 1.3a, 1.6a, 1.9b, 1.12, 1.24, 2.3, 2.6, 6.14, 6.16.


        Video
        1. Video encoding requirements

        1.9.

        1.9a. Dolby Vision monoscopic content MUST be Profile 5 (single layer 10-bit HEVC) and less than or equal to Level 8.

        1.9c. + Dolby Vision stereo video MUST be Profile 20 (MV-HEVC) and less than or equal to Level 8.

        1.25. Suggested bit rates for MV-HEVC variants.


          1639 aspect ratio        MV-HEVC SDR 30 fps                  MV-HEVC HDR 30 fps                  Frame rate

          640 x 360                246                                 272                                 ≤ 30 fps

          768 x 432                510                                 612                                 ≤ 30 fps

          960 x 540                1020                                1241                                ≤ 30 fps

          960 x 540                1530                                1853                                ≤ 30 fps

          960 x 540                2720                                3281                                Same as source

          1280 x 720               4080                                4930                                Same as source

          1280 x 720               5780                                6936                                Same as source

          1920 x 1080              7650                                9180                                Same as source

          1920 x 1080              9660                                11900                               Same as source

          2560 x 1440              13770                               16490                               Same as source

          3840 x 2160              19720                               23630                               Same as source

          3840 x 2160              28560                               34000                               Same as source



        Trick play
        6. Trick play requirements

        6.6. If your only content is stereo video, then you SHOULD provide only one I-frame Media Playlist. (See item 6.19.)

        6.18. + Trick play content SHOULD be monoscopic.

        6.19. + In visionOS, a thumbnail list is produced for scrubbing and scanning. These thumbnails are 160px height with a
        width that matches the aspect ratio of the main content. For better performance, you MAY provde an I-frame playlist
        having exactly this height.


        Stereo Video
        16. Stereo video requirements

        16.2. + Stereo video content MUST include Video Extended Usage ('vexu') atoms/boxes. (See Additional stereo video
        specifications.)

        16.3. + Stereo video content SHOULD include parallax metadata if your content has subtitles. (See Additional stereo
        video specifications.)

        16.4. + Switches between stereo video and monoscopic video content MUST be marked with an EXT-X-DISCONTINUITY
        tag, or the Media Initialization Section MUST contain sample descriptions for both kinds of content. In the latter case,
        the sample index field of each sample should point to the appropriate sample description.

        16.5. + If stereo video content includes sections of monoscopic video content, then the REQ-VIDEO-LAYOUT attribute
        MUST include “CH-MONO” as one entry.

        16.6. + Stereo video content SHOULD include multi-channel audio.

        16.7. + Stereo video MUST be encoded using MV-HEVC.



        Amended requirements for AirPlay 2-Enabled TVs
        All general rules apply except as expressly modified by a rule with the same number in this section. Rules with a leading
        plus sign (+) are additional rules.



          Note
          AirPlay on older third-party TVs does not support the Sample Group Description Box ('sgpd') and Sample to
          Group Box ('sbgp') for encrypted content. You must remove them from encrypted CMAF content to enable
          playback.



        Video
        1. Video encoding requirements

        1.23. If multiple video streams are provided (H.264, HEVC, HDR), each stream MUST provide all anticipated bandwidths.

        1.37. + Encrypted fMP4 content MUST contain either a Sample Encryption Box ('senc'), or both a Sample Auxiliary
        Information Sizes Box ('saiz') and a Sample Auxiliary Information Offsets Box ('saio').


        Audio
        2. Audio encoding requirements

        2.10. Channel layout SHOULD NOT change within a stream.


        Ads and pre-/mid-/post-rolls
        3. Ad requirements

        3.5. + Inserted media SHOULD be at a similar frame rate (x, 2x, x/2) as the other content in the Media Playlist.


        Subtitles
        5. Subtitle requirements

        5.2. Subtitles MUST be WebVTT.


        Trick Play
        6. Trick play requirements

        6.13. If a normal video variant uses a video codec, one or more I-frame variants MUST exist with the same video codec
        or the mjpg codec.


        Media Playlists
        8. Media Playlist requirements

        8.16. You SHOULD NOT switch codecs at discontinuities. For example, donʼt switch between HEVC and H.264, or
        between AAC and Dolby Digital.

        8.22. All video variants and renditions MUST have segment boundaries at the same points in time.

        8.25. + Frame rate changes at discontinuities SHOULD use a similar frame rate (x, 2x, x/2).


        Multivariant Playlist
        9. Multivariant Playlist requirements

        9.23. + You SHOULD provide a full range of variants for each codec type and frame rate. Similar frame rates (x, 2x, x/2)
        are compatible, nonsimilar frame rates may cause playback issues.

        9.24. + If you supply HDR content, you SHOULD provide both Dolby Vision and HDR10.



        Revision history
        The following table describes the changes to this document.


          Date        Notes

          2023-
                      Added visionOS requirements. Added note about audio/aac.
          08-15

          2023-
                      Added stereo video rules and MV-HEVC bit rate.
          06-27

          2023-
                      Added detail about I-frame image sequences.
          05-19

          2022-
                      Added “Audio rendition groups and variants” section to the appendix, clarified language around the
          08-
                      LANGUAGE attribute, and added additional information about Apple TV and Dolby ATMOS.
          22

          2021-
                      Renamed “primary playlist” to “Multivariant Playlist.”
          11-12

          2020-
          06-         Added new sections: Low-Latency HLS and ALLOWED-CPC Values for FairPlay Streaming.
          22

          2019-
          06-         Added new table describing MIME types.
          03

          2019-
          03-         Added new rules for Airplay 2-enabled TVs. Moved appendixes into child article.
          04

          2018-
                      Added new rules for content protection and media playlists.
          09-11

          2018-
                      Added Dolby Digital Plus with Dolby Atmos information. Added codec value section.
          06-18

          2018-
                      Made several minor changes to individual spec points. Updated the variant bit rate table and broke it into
          04-
                      two separate tables.
          09

          2018-
                      Fixed several typos and made a couple of minor changes to audio encoding requirements.
          01-16

          2017-
                      Updated document with HDR (HEVC) information.
          09-19

          2017-
          06-         Updated document with HEVC/H.265 information.
          06

          2016-
                      Added rules for fragmented MP4 files.
          09-13

          2016-
                      Updated for iOS and macOS specifications.
          06-13

          2016-
                      Updated Dolby Digital bit rate recommendation to 384 kbit/s.
          03-21

          2016-
                      Fixed typo in section 10.2.
          01-11

          2015-
                      Added section on using the hlsreport tool.
          12-17

          2015-
                      Corrected a mistake in Table 2-3, Column 2 heading. Changed to 16k9 aspect from 19k0.
          12-08

          2015-       Published the first edition of this document describing the HTTP Live Streaming specifications for audio and
          10-21       video content delivery for Apple TV.




        Topics

        Appendixes
                HTTP Live Streaming (HLS) Authoring Specification for Apple devices appendixes
                Learn additional information related to the HLS Authoring Specification for Apple Devices.




        See Also

        Specifications and other documents
                About the Common Media Application Format with HTTP Live Streaming (HLS)
                Learn the Common Media Application Format as it applies to HLS.

                Enabling Low-Latency HTTP Live Streaming (HLS)
                Add Low-Latency HLS to your content streams to maintain scalability.

                Links to additional specifications and videos
                Review additional specifications and documents.

                Videos about HLS
                Review informational videos about HTTP Live Streaming.

                Providing metadata for xHE-AAC video soundtracks
                Ensure volume normalization by including metadata for loudness and dynamic range control.

                Adjusting anchor loudness
                Adjust anchor loudness when measurements of speech-gated loudness for a full mix may be inaccurate, such as
                when speech activity is low.

                Providing JavaScript Object Notation (JSON) chapters
                Prepare JSON chapters for HTTP Live Streaming.



          Developer     Documentation


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tvOS                                        App Store                                   Forums                              MFi Program

visionOS                                    Audio & Video                               Videos                              News Partner Program

watchOS                                     Augmented Reality                           Support                             Video Partner Program

Tools                                       Business                                    Support Articles                    Security Bounty Program

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Xcode                                       Games                                       Apple Developer                     App Store Awards

Xcode Cloud                                 Health & Fitness                            App Store Connect                   Apple Design Awards

SF Symbols                                  In-App Purchase                             Certificates, IDs, & Profiles       Apple Developer Academies

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                                            Machine Learning

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